                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: Michael G. Dombrowski                 )              Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                      )
                                             )
               Debtor.                       )              CHAPTER 11
                                             )

                   DEBTOR’S OBJECTION TO PROOF OF CLAIM OF
                     MTGLQ INVESTORS, LP. [CLAIM DOC. 20-1]

       COMES NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (the
“Debtor”) and objects to the claims of MTGLQ Investors, LP. (“Creditor”) [Claim Doc. #20-1]
(“the Claim”) on the grounds that follow:

       1.      Since the original holder filed Proof of Claim 20-1 on September 8, 2016 in the
amount of $372,906.04, the Claim’s underlying note and obligations has been transferred or
assigned multiple times between various loan servicers and noteholders.

       2.      The Claim does not include a statement itemizing interest, fees, expenses, or other
charges as required by Fed.R.Banr.P Rule 3001. Further, the filed Claim contradicts statement
histories and other relevant documentation provided by the Creditor and prior loan servicers.

       3.      The Creditor has not properly re-amortized the Claim as required by the Debtor’s
confirmed Plan of Reorganization and has failed to incorporate the terms this Court’s December
8, 2017 Order [Doc. 617] into its calculation of the Claim amount.

       4.      To date, the Creditor claims improper fees, interest, charges, and duplicate
insurance related to the Claim totaling $89,516.90.

       5.      Despite the Debtor’s repeated efforts since confirmation of his Plan of
Reorganization, he has been unable to resolve these discrepancies without involving this Court.

       6.      The Debtor avers that proper accounting of the Claim balance as of December 1,
2019 is:




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       7.     The Debtor avers that a proper calculation and amortization of the next twelve
payments for the Claim is attached hereto as Exhibit “A.”

       WHEREFORE, premises considered, the Debtor requests that this Honorable Court enter
an Order: 1) requiring the Creditor to immediately correct, update and amend its proof of claim;
2) requiring the Creditor to immediately amortize the Claim and provide timely and correct
monthly payment information to the Debtor; and 3) granting such further relief as this Court
deems just and proper.

       Respectfully submitted this the 8th day of November, 2019.


                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard III
                                            Tazewell T. Shepard IV
                                            Attorneys to Chapter 11 Debtor

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                              CERTIFICATE OF SERVICE

       This is to certify that I have this the 8th day of November, 2019 served the foregoing
document upon the Debtor’s 20 largest unsecured creditors, Michael McCormick, Attorney for
Creditor, McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA 30076;
Creditor MTGLQ Investors, LP, c/o Rushmore Loan Management Services, LLC, P.O. Box
55044, Irvine, CA 92619; and Richard Blythe, Office of the Bankruptcy Administrator, P.O. Box
3045, Decatur, AL 35602; and, all persons requesting notice by electronic service through the
Court’s CM/ECF system and/or by depositing said copies in the United States Mail in properly
addressed envelopes with adequate postage thereon.




                                       /s/ Tazewell T. Shepard IV
                                       Tazewell T. Shepard IV




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